Case 18-30765   Doc 13-3   Filed 09/21/18 Entered 09/21/18 13:21:59   Desc Exhibit
                                  C Page 1 of 5
Case 18-30765   Doc 13-3   Filed 09/21/18 Entered 09/21/18 13:21:59   Desc Exhibit
                                  C Page 2 of 5
Case 18-30765   Doc 13-3   Filed 09/21/18 Entered 09/21/18 13:21:59   Desc Exhibit
                                  C Page 3 of 5
Case 18-30765   Doc 13-3   Filed 09/21/18 Entered 09/21/18 13:21:59   Desc Exhibit
                                  C Page 4 of 5
Case 18-30765   Doc 13-3   Filed 09/21/18 Entered 09/21/18 13:21:59   Desc Exhibit
                                  C Page 5 of 5
